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                       of Brian Feder in Support of Objection Pg 1 of 3




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re: Residential Capital, LLC, et al.                           Case No.: 12-12020 (MG)

                                                                  Chapter 11

                                      Debtors.



                DECLARATION OF BRIAN D. FEDER IN SUPPORT OF
        OBJECTION OF INTERNATIONAL BUSINESS MACHINES CORP.
 TO NOTICE OF (I) DEBTORS’ INTENT TO ASSUME AND ASSIGN CERTAIN
        EXECUTORY CONTRACTS, UNEXPIRED LEASES OF PERSONAL
     PROPERTY, AND UNEXPIRED LEASES OF NONRESIDENTIAL REAL
            PROPERTY AND (II) CURE AMOUNTS RELATED THERETO


       I, Brian D. Feder, declare as follows:
       1.      I am a Project Executive for International Business Machines Corp. (“IBM”)
in the Global Process Services division. I have personal knowledge of the facts set forth
herein and if called and sworn as a witness, I could and would testify competently thereto.
       2.      I have reviewed the business records of IBM in connection with the matters
discussed herein. I participate in, have personal knowledge of, and am personally familiar
with IBM’s record keeping process with respect to the creation and keeping of business
documents and posting of accounts to the computer system. The entries made to those
records are made at or near the time of the transactions they depict, and the records are
made, kept and maintained in the ordinary course of IBM’s business. IBM’s business
records pertaining to the matters discussed herein were made and kept in the manner
described above.
                                                     1
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      3.    Debtor GMAC Mortgage, LLC f/k/a GMAC Mortgage Corporation and
Palisades Technology Partners entered into a Consulting and Development Master
Agreement dated February 22, 2002 (the “Master Agreement”) with regards to certain
proprietary computer software applications that the debtor owned or wished to develop. A
true and correct copy of the Master Agreement is attached hereto as Exhibit 1. IBM
subsequently became the successor in interest to Palisades Technology Partners under the
Master Agreement.
      4.    Pursuant to the terms and conditions of the Master Agreement, debtor GMAC
Mortgage, LLC f/k/a GMAC Mortgage Corporation and IBM entered into an Amended
and Restated Statement of Work dated December 27, 2011, effective as of January 1, 2012
(the “Amended SOW”). A true and correct copy of the Amended SOW is attached hereto
as Exhibit 2. The Master Agreement and the Amended SOW are collectively referred to
as the “IBM Contracts.” I am the Project Executive for, and am responsible for oversight
of, the work performed by IBM pursuant to the IBM Contracts.
      5.    The Notice of Assumption and Assignment identifies the IBM Contracts as
executory contracts that the Debtors may attempt to assume and assign in conjunction with
the Sales. The Notice of Assumption and Assignment also lists a cure amount of $0.00
that would be payable upon such assumption and assignment. The Cure amount identified
by the Debtors is incorrect. The correct cure amount is $331,860.00. The amount consists
of $326,910.00 for invoice C12BS5B, dated 03/29/12, plus $132,167.00 for invoice
MB00926, dated 05/30/12, minus $127,217.00 paid on 08/02/12 for the portion of invoice
MB00926 that covered amounts incurred post-petition. A true and correct copy of invoice
C12BS5B is attached hereto as Exhibit 3. A true and correct copy of invoice MB00926 is
attached hereto as Exhibit 4. Invoices C12BS5B and MB00926 reflect charges for work
performed by IBM pursuant to the IBM Contracts.
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